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                                   6                                UNITED STATES DISTRICT COURT

                                   7
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   UNITED STATES OF AMERICA,
                                  11                  Plaintiff,                           No. CR 14-00175 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   PACIFIC GAS AND ELECTRIC                            ORDER RE ZOGG FIRE EVIDENCE
                                       COMPANY,
                                  14
                                                      Defendant.
                                  15

                                  16        The Court has read today that PG&E has used a helicopter to haul away potential
                                  17   evidence from the Zogg Fire. By this order, PG&E shall not destroy or despoil any of the
                                  18   evidence so removed and shall keep it preserved with records sufficient to show its exact
                                  19   locations when removed.
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                                  21        IT IS SO ORDERED.
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                                  23   Dated: November 6, 2020.
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                                                                                             WILLIAM ALSUP
                                  26                                                         UNITED STATES DISTRICT JUDGE
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